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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

  SECURITIES INVESTOR PROTECTION
  CORPORATION,
                                                                 Adv. Pro. No. 08-01789 (CGM)
                            Plaintiff-Applicant,
                                                                 SIPA LIQUIDATION

  v.                                                             (Substantively Consolidated)

  BERNARD L. MADOFF INVESTMENT
  SECURITIES LLC,

                            Defendant.


  In re:

  BERNARD L. MADOFF,

                            Debtor.


  IRVING H. PICARD, Trustee for the Substantively                Adv. Pro. No. 10-05421 (CGM)
  Consolidated SIPA Liquidation of Bernard L. Madoff
  Investment Securities LLC and Bernard L. Madoff,

                            Plaintiff,

  v.

  FRANK J. AVELLINO, et al.,

                            Defendants.



                                         CERTIFICATE OF SERVICE

           I hereby certify that on December 7, 2022, the Notice of Adjournment of Pre-Trial Conference

 was filed electronically. Notice of this filing has been sent through the Court's Electronic Case Filing

 System and via electronic transmission to the email addresses designated for delivery and/or by placing

 true and correct copies thereof in sealed packages designated for regular U.S. Mail, postage prepaid and

 properly addressed to those parties as set forth on the attached Schedule A.
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  Dated: December 8, 2022
         New York, New York
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                                               for the Substantively Consolidated SIPA
                                               Liquidation of Bernard L. Madoff Investment
                                               Securities LLC and the Chapter 7 Estate of
                                               Bernard L. Madoff




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                                             SCHEDULE A



  Defendant Counsel

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  Attorney For: 27 Cliff, LLC, Ascent, Inc., Aster Associates, Avellino & Bienes, Avellino & Bienes
  Pension Plan and Trust, Avellino Family Trust, Dianne K. Bienes, individually, and as Personal
  Representative for the Estate of Michael Bienes, Frank J. Avellino, Frank J. Avellino as Trustee for
  Frank J. Avellino Grantor Retained Annuity Trust Agreement Number 2 Under Agreement Dated June
  24, 1992, Frank J. Avellino as Trustee for Rachel Anne Rosenthal Trust #3, Frank J. Avellino as Trustee
  for Rachel Anne Rosenthal U/A Dated June 29, 1990, Frank J. Avellino Grantor Retained Annuity Trust
  Agreement Number 2 Under Agreement dated June 24, 1992, Frank J. Avellino Grantor Retained
  Annuity Trust under Agreement dated June 24, 1992, Frank J. Avellino Revocable Trust Number One as
  amended and restated January 26, 1990, as Amended, Frank J. Avellino Revocable Trust Number One
  under the Declaration of Trust Number One dated June 10, 1988, as Amended, Frank J. Avellino, as
  Trustee for Avellino & Bienes Pension Plan and Trust, Frank J. Avellino, as Trustee for Avellino Family
  Trust, Frank J. Avellino, as Trustee for Frank J. Avellino Grantor Retained Annuity Trust under
  Agreement dated June 24, 1992, Frank J. Avellino, as Trustee for Frank J. Avellino Revocable Trust
  Number One as amended and restated January 26,1990, as amended, Frank J. Avellino, as Trustee for
  Frank J. Avellino Revocable Trust Number One under Declaration of Trust Number One dated June 10,
  1988, as amended, Frank J. Avellino, as Trustee for Heather Carroll Lowles Trust U/A dated June 29,
  1990, Frank J. Avellino, as Trustee for Madison Alyssa McEvoy Trust U/A dated June 29, 1990, Frank J.
  Avellino, as Trustee for Melanie Ann Lowles Trust U/A dated June 29, 1990, Frank J. Avellino, as
  Trustee for S.A. Grantor Retained Annuity Trust, Frank J. Avellino, as Trustee for Taylor Ashley
  McEvoy Trust U/A dated June 24, 1992, Frank J. Avellino, as Trustee for Tiffany Joy Lowles Trust U/A
  dated June 29, 1990, Grosvenor Partners, Ltd., Heather Carroll Lowles Trust U/A dated June 29, 1990,
  Kenn Jordan Associates, Madison Alyssa McEvoy Trust U/A dated June 29, 1990, Mayfair Bookkeeping
  Services, Inc., Mayfair Ventures, G.P., Melanie Ann Lowles Trust U/A dated June 29, 1990, Nancy C.
  Avellino, as Trustee for Heather Carroll Lowles Trust U/A dated June 29, 1990, Nancy C. Avellino, as
  Trustee for Madison Alyssa McEvoy Trust U/A dated June 29, 1990, Nancy C. Avellino, as Trustee for
  Melanie Ann Lowles Trust U/A dated June 29, 1990, Nancy C. Avellino, as Trustee for Rachel Anne
  Rosenthal Trust #3, Nancy C. Avellino, as Trustee for Rachel Anne Rosenthal Trust U/A dated June 29,
  1990, Nancy C. Avellino, as Trustee for Taylor Ashley McEvoy Trust U/A dated June 24, 1992, Nancy
  C. Avellino, as Trustee for Tiffany Joy Lowles Trust U/A dated June 29, 1990, Nancy C. Avellino,
  individually, and as Trustee for Nancy Carroll Avellino Revocable Trust Under Trust Agreement dated
  May 18, 1992, Nancy Carroll Avellino Revocable Trust under Trust Agreement dated May 18, 1992,
  Rachel A. Rosenthal, Rachel Anne Rosenthal Trust #3, Rachel Anne Rosenthal Trust U/A dated June 29,
  1990, St. James Associates, Strattham Partners, Taylor Ashley McEvoy Trust U/A dated June 24, 1992,
  The Avellino Family Foundation, Inc., The Estate of Michael S. Bienes, Thomas G. Avellino, Tiffany
  Joy Lowles Trust U/A dated June 29, 1990




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